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                       Paul Galat BA, MS                                  Senior Forensic Chemist
                       Department of Justice                              South Central Laboratory
                       Drug Enforcement Administration                    Dallas, Texas
                       Office of Forensic Sciences


                                            AREA OF EXPERTISE

 Forensic Discipline
             Seized Drug Analysis

 Expert Testimony
      03/05/19 US District Court Albuquerque, NM
      03/19/19 US District Court Albuquerque, NM
      04/16/19 US District Court Sherman, TX US vs Ceballos
      07/16/19 US District Court Houston, TX US vs Meyer
      07/23/19 US District Court Amarillo, TX US vs Landeta
      07/30/19 US District Court Amarillo, TX US vs Rodriguez
      08/14/19 US District Court New Orleans, LA US vs Alexander
      10/30/19 US District Court Fort Worth, TX US vs Echarte-Rivero
      09/16/20 US District Court Midland, TX
      01/12/21 US District Court Midland, TX US vs Ruiz
      08/03/22 US District Court Midland, TX US vs Godsey
      09/13/22 US District Court Lubbuck, TX US vs Powdrill
      09/21/22 US District Court Del Rio, TX US vs Sanchez
      12/15/22 US District Court Plano, TX US vs Dejesus-Rivera

Testified in Federal and State Court more than 85 times. Areas Include Forensic Chemistry, Clandestine Laboratory
Enforcement and Trace Evidence Collection.


                                      PROFESSIONAL EXPERIENCE
 Drug Enforcement Administration
 Senior Forensic Chemist, South Central Laboratory, Dallas,TX, 2006 - Present

Conducts analysis to identify and quantitate controlled substances on over 11,000 drug exhibits of various types.

    Provides expert witness testimony and technical guidance to prosecution in state and federal court.
    Performs maintenance and repair on laboratory instrumentation, including Gas Chromatographs with Flame
     Ionization Detectors (GC/FID), High Performance Liquid Chromatographs (HPLC), Gas Chromatographs with
     Mass Spectrometers (GC/MS), etc.
    Provides field support to DEA Special Agents by sampling and processing clandestine laboratory evidence and
     trace evidence collection using Ion Mobility Spectroscopy (IMS)
Forensic Chemist, South Central Laboratory, Dallas,TX, 1998 - 2006
    see Senior Forensic Chemist dutes, described above
Training Officer, South Central Laboratory, 2001-2010
    Trained new Forensic Chemists in using scientific instruments and DEA procedures to analyze controlled
     substances.




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                                  EDUCATION AND CERTIFICATIONS
Degree Program(s)

Michigan State University East Lansing, Michigan

             Masters of Science in Criminal Justic with Specialization in Forensic Science 2000


             Bachelors of Arts in Chemistry 1997


Drug Enforcement Adminstration

             Forensic Chemist Basic Training Program 1999


             Clandestine Laboratory Investigation/Safety Certification Program 1999




Certification(s)

South Central Laboratory Dallas, Texas

                 Clandestine Laboratory Investigations, yearly




                                     PROFESSIONAL AFFILIATIONS

                 Clandestine Laboratory Investigating Chemists (CLIC), Member 2007-2009




                                   PRESENTATIONS AND LECTURES

           Clandestine Laboratory Demonstration for National Methamphetamine Awareness Day
                     Explained and demonstrated the nazi process, 2006


           Career Day Presentations
                     Local High School and Elementary Schools 2004, 2009, 2010, 2012, 2016, 2017


           News Programs
                      KFOX14    FOX El Paso, TX “Where do drugs seized in El Paso go?” Demonstrated fentanyl
                       testing proceedures at the laboratory aired November 2, 2022

                      KSAT12    ABC San Antonio, TX “What is Fentanyl, KSAT Explains” Demonstrated fentanyl
                       testing proceedures at the laboratory aired November 14, 2022




                                               PUBLICATIONS

                Gay M, Detulleo A, Galat P. Detecting Heroin in the Presence of Cocaine Using Ion Mobility
                 Spectrometry. International Journal for Ion Mobility Spectrometry, 2000 Mar;(1): 38-42.
                ”Interpreting Ion Mobility Spectrometry Plasmagrams of Heroin and Cocaine”
                  Presented at Michigan State University, Masters Thesis 2000


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